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P|aintiff,

VS.
CR. NO. 04-20493-B

|NIHONA ARNOLD EKO-|SENALU|V|HE,

Defendant.

 

OFiDER ON CONT|NUANCE AND SF’EC|FY|NG PEF{|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a

re ort date of Nlonda Au ust 29 2005 at 9:30 a.m., in Courtroom 1, 11th Floor of the

 

Federal Building, lVlemphis, TN.
The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need f<§{r3 a speidy trial.
|T |S 50 ORDERED this { day of:l-ul'y, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CR-20493 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Dan NeWsom

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Honorable J. Breen
US DISTRICT COURT

